Case 2:18-cv-01083-RAJ Document 1-3 Filed 07/24/18 Page 1 of 3




                   Exhibit C
                 Case 2:18-cv-01083-RAJ Document 1-3 Filed 07/24/18 Page 2 of 3




 1
 2
 3
 4
 5
 6
 7
 8
 9
10                             UNITED STATES DISTRICT COURT
11                            WESTERN DISTRICT OF WASHINGTON
12                                      AT SEATTLE
13
14
15
16   OCEANGATE INC.,
17                                                         No. 18-2-05651-31
18                          Plaintiff,
19
20          v.
21
22   DAVID LOCHRIDGE and CAROLE REID                       DECLARATION OF ALEX J. HIGGINS
23   LOCHRIDGE, and the marital community                  IN SUPPORT OF DEFENDANTS’
24   composed thereof,                                     NOTICE OF REMOVAL
25
26                         Defendants.
27
28
29   I, ALEX J. HIGGINS, under penalty of perjury under the laws of the United States, declare that
30
31
     the following is true and correct:
32
33
34
        1. I am over the age of 18, have personal knowledge of the matters set forth in this
35
36          declaration, and am otherwise competent to testify. I am the sole attorney representing
37
38          Defendants David Lochridge and Carole Reid Lochridge in this matter.
39
40      2. Prior to filing the Notice of Removal, I had an email exchange with Plaintiff’s counsel,
41
42          Thomas Gilman, wherein I asked if his client would be willing to stipulate that the
43
44
            amount in controversy did not exceed $75,000. Mr. Gilman declined that invitation,
45
46
47          reserving the right to pursue more than $75,000 in damages exclusive of fees and costs.
48
49   DECLARATION OF ALEX J. HIGGINS - 1                      LAW OFFICES OF ALEX J. HIGGINS
50                                                                2200 Sixth Ave. Ste 500
                                                                    Seattle, WA 98121
                                                                      (206) 340-4856
             Case 2:18-cv-01083-RAJ Document 1-3 Filed 07/24/18 Page 3 of 3




 1      3. The Complaint appears to allege serious breaches by the Defendants and either damage to
 2
 3         or failure to return expensive equipment used in submarines or other submersible vessels.
 4
 5
        4. The defendants in this matter, David Lochridge and Carole Reid Lochridge, live in the
 6
 7
 8
           State of Texas.
 9
10      5. Defendants were served with the summons and complaint for this matter on June 29,
11
12         2018, at their home in Texas.
13
14
15         EXECUTED on this 24th day of July, 2018, at Seattle, Washington.
16
17
18
19
20                                                   /s/Alex J. Higgins___________
21                                                   Alex J. Higgins
22
23
24
25
26
27
28
29
30
31
32
33
34
35
36
37
38
39
40
41
42
43
44
45
46
47
48
49   DECLARATION OF ALEX J. HIGGINS - 2                     LAW OFFICES OF ALEX J. HIGGINS
50                                                               2200 Sixth Ave. Ste 500
                                                                   Seattle, WA 98121
                                                                     (206) 340-4856
